                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF VIRGINIA
                        CHARLOTTESVILLE DIVISION

 UNITED STATES OF AMERICA

 v.                                                   Case No. 3:18cr00025

 BENJAMIN DRAKE DALEY

                           NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that the undersigned appears in this proceeding as

 counsel for Benjamin Drake Daley.

                                               S/Frederick T. Heblich, Jr.
                                               Frederick T. Heblich, Jr.
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                          CERTIFICATE OF SERVICE

        I hereby certify that on November 6, 2018, I electronically filed the
 foregoing with the Clerk of the Court using the CM/ECF system which will send
 notification of such filing to the following: counsel of record; and I hereby certify
 that I have mailed by United States Postal Service the document to the following
 non-CM/ECF participants:

                                               S/Frederick T. Heblich, Jr.
                                               Frederick T. Heblich, Jr.




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